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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

      Plaintiff,

v.

ENOCH SMITH (a.k.a., “Rudy Slack”),
et al.,

      Defendants.                                  Case No. 05-cr-30133-07-DRH


                            MEMORANDUM & ORDER

HERNDON, District Judge:

             This Order addresses defendant Enoch Smith’s (a.k.a. “Rudy Slack”)

Motion to Dismiss Indictment Because of Violation of the Speedy Trial Act (Doc.

289), to which the Government has responded in opposition (Doc. 304). Defendant

Smith takes issue with several continuances of the trial date, asserting that the

requisite “ends of justice” findings of 18 U.S.C. § 3161(h)(8)(A) were not properly

made and thus, the seventy days under the Act has expired.         For the reasons

discussed, defendant Smith’s Motion (Doc. 289) must be denied.

                           “Ends of Justice” Findings

             Defendant advances two main arguments in his Motion asserting Speedy

Trial Act violations. The first challenges an October 25, 2005 Order of the Court

granting a trial continuance (Doc. 96). Initially, this Order did not incorporate the


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“ends of justice” findings – but a later Order was entered on the record on September

6, 2006, which memorialized these findings (Doc. 230). Defendant challenges this

continuance, arguing that the Court should have made the appropriate findings

under § 3161(h)(8)(A) in its initial October 25, 2005 Order; as it failed to do so,

Defendant asserts that more than 70 days had elapsed by the time the Court entered

its September 6, 2006 Order (Doc. 230).

             Defendant’s argument is unavailing. Recently, the Supreme Court of the

United States held that § 3161(h)(8)(A) “ends of justice” findings may be made on

the record, at the very latest, “by the time a district court rules on a defendant’s

motion to dismiss . . . .” Zedner v. United States, ___ U.S. ___, 126 S. Ct. 1976,

1989 (2006). The Seventh Circuit also adheres to this allowance. See United

States v. Larson, 417 F.3d 741, 746 (7th Cir. 2005); United States v. Jean, 25

F.3d 588, 595 (7th Cir. 1994); United States v. Janick, 723 F.2d 537, 544-45

(7th Cir. 1983).

             In this case, the Court notes that the October 25, 2005 Order (Doc. 96)

granting the continuance of trial from November 11, 2005 to March 13, 2006, was

the only continuance Order which did not initially include “ends of justice” findings

pursuant to § 3161(h)(8)(A). However, this does not mean that the District Judge

did not make these findings “if only in [his] mind before granting the continuance.”

Zedner, ___ U.S. at ___, 126 S. Ct. at 1989. The specific statutory findings were

thereafter memorialized on the record in the Court’s Order, issued on September 6,



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2006 (see Doc. 230 for the specific “ends of justice” findings). Although the Court

does not endeavor to routinely enter the findings after the continuance Order has

been issued, the practice was, nevertheless, proper under current law.          These

findings thereby tolled the speedy trial clock (as excludable time) from the date the

Motion to Continue (Doc. 94) was filed, October 21, 2005, to the continued trial date

of March 13, 2006. As such, Defendant’s argument in this regard fails, as there was

no violation of the Speedy Trial Act caused by the October 25, 2005 Order (Doc. 96),

as memorialized by the September 6, 2006 Order (Doc. 230).

                     Findings Applicable to All Codefendants

             Secondly, Defendant argues that several of the other Orders continuing

trial did not contain specific “ends of justice” findings particularized to Defendant

himself. Such Orders, Defendant asserts, are also insufficient to toll the speedy trial

clock. The Seventh Circuit has upheld the notion that excludable time due to a

codefendant’s motion for continuance of trial can be ascribed to other codefendants.

See, e.g., United States v. Mustread, 42 F.3d 1097, 1106 (7th Cir. 1994); see

also 18 U.S.C. § 3161(h)(7) (providing for excludable time of “[a] reasonable

period of delay when the defendant is joined for trial with a codefendant as to

whom the time for trial has not run and no motion for severance has been

granted”). This is all the more applicable as Defendant failed to oppose any of the

motions seeking continuances (prior to the Court’s rulings) or to move for severance

from his codefendants.



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             Aside from the two continuance Orders previously discussed in this

Order (Docs. 96 & 230), the Court issued three other Orders continuing the trial date

(Docs. 165, 183 & 218). Although defendant Smith did not move for any of these

continuances himself, he also did not oppose them. Further, while these three

Orders do not make specific reference to each of the remaining codefendants in

discussing the Court’s “ends of justice” findings, this is not required – moreover,

Defendant fails to cite any supporting law for this argument. This is a complex

conspiracy case, involving a large number of codefendants and voluminous

discovery. A continuance necessary to one defendant in order to avoid a miscarriage

of justice is also necessary and applicable to all remaining codefendants, as they

should be tried together, absent a severance.

                         Speedy Trial Clock Calculation

             “In ruling on a defendant’s motion to dismiss, the court must tally the

unexcluded days.” Zedner, ___ U.S. at ___, 126 S. Ct. at 1989. The Court notes

that the Government, in its Response, has submitted its calculation of excluded time

(Doc. 304, p. 5 and Ex. 1). The Court is in agreement with the Government’s tally

that currently there are zero (0) non-excludable days to count against the speedy

trial clock. An explanation of this calculation is listed below. The Court notes that

because many of the continuance Orders created an “exclusion umbrella,” it does not

also list the various pretrial motions that were filed during those time periods, as

time is already excluded pursuant to § 3161(h)(8)(A). Further, the Court has



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already found that all Orders granting the various motions to continue trial were

valid pursuant to the “ends of justice” requirement and therefore constitute

excludable time.1 Additionally, whereas the Government also notes excludable time

due to pretrial motions and appearances prior to the last codefendant being

arraigned, the Court shall not account for these exclusions in its explanation below.

See Larson, 417 F.3d at 746 n.1 (noting that the speedy trial clock begins to

run when the last codefendant is arraigned)(citing United States v. Baskin-Bey,

45 F.3d 200, 203 (7th Cir. 1995)).



03/03/2006             Speedy Trial Clock begins to run when last codefendant, Shara
                       Smith, is arraigned (Doc. 166). Thereafter, the Magistrate also
                       enters a pretrial discovery order that same date (Doc. 168),
                       allowing for ten (10) days time for parties to file pretrial
                       motions.2 § 3161(h)(1); see also United States v. Tibboel,
                       753 F.2d 608, 610 (7th Cir. 1985).

03/13/2006             End of 10-day excludable time allowed per the Magistrate’s
                       Pretrial and Discovery Order (Doc. 168). [Note, the 10-day
                       excludable time from this Discovery Order (Doc. 168) overlaps
                       with excludable time from a subsequent Motion to Continue
                       Trial, described below (Doc. 178).]



       1
          In fact, the Court observes that the continuance Order at issue in Defendant’s Motion
(Doc. 96) does not even factor into the Court’s excludable time calculation, as it occurred before
the clock began to run.
       2
         Additionally, this time was already under an “excludable umbrella” from the last Motion
to Continue (Doc. 165), which was granted, continuing trial to June 26, 2006 (Doc. 165).
However, if this is not deemed to be applicable excludable time, as it occurred prior to the last
codefendant being arraigned, the time subsequent to Smith’s arraignment is excludable due to the
Magistrate’s Pretrial and Discovery Order, which allowed 10 days of excludable time.




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03/09/2006         Motion to Continue Trial (Doc. 178) by codefendant John Frost
                   tolls speedy trial clock; Motion is granted by Order (Doc. 183) on
                   03/10/2006, continuing trial to 09/11/2006. Time from filing of
                   Motion, 03/09/2006, until new trial date of 09/11/2006, is
                   excludable. § 3161(h)(7); § 3161(h)(8)(A).

08/04/2006         Motion to Continue Trial (Doc. 217) by codefendant Richard
                   Pittman tolls speedy trial clock; Motion is granted by Order (Doc.
                   218) on 08/07/2006, continuing trial to 01/22/2007. Time from
                   filing of Motion, 08/04/2006, until new trial date of 01/22/2007,
                   is excludable. § 3161(h)(7); § 3161(h)(8)(A).


             For the reasons as discussed herein, Defendant’s Motion to Dismiss

Indictment Because of Violation of the Speedy Trial Act (Doc. 289) is DENIED.

Lastly, because the Court was able to adequately determine its rulings from the

applicable law and the face of the pleadings, a hearing on Defendant’s Motion is

unnecessary.



             IT IS SO ORDERED.

             Signed this 11th day of January, 2007.

                                                      /s        David RHerndon
                                                      United States District Judge




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